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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                 LAFAYETTE DIVISION

DIAMOND SERVICES CORP                                    CIVIL ACTION NO. 20-cv-101

VERSUS                                                   JUDGE JUNEAU

COBBS ALLEN & HALL OF LOUISIANA INC MAGISTRATE JUDGE
                                    WHITEHURST


                                         JUDGMENT

          For the reasons assigned in the Report and Recommendation of the Magistrate Judge

 previously filed herein, and having thoroughly reviewed the record, including the written

 objections filed, and concurring with the findings of the Magistrate Judge under the

 applicable law;

          IT IS ORDERED that the Motion to Remand [Doc. 12] filed by the plaintiff, Diamond

 Services Corporation (“Diamond”), is GRANTED, and this matter is remanded to the Sixteenth

 Judicial District Court for the Parish of St. Mary, State of Louisiana.

          THUS DONE AND SIGNED in Lafayette, Louisiana, on this 30th day of September,

  2020.



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                                           MICHAEL J. JUNEAU
                                           UNITED STATES DISTRICT JUDGE
